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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION
                                       FRANKFORT

    ONLINE MERCHANTS GUILD,                         )
                                                    )
           Plaintiff,                               )         Civil No. 3:20-cv-00029-GFVT
                                                    )
    V.                                              )
                                                    )
    DANIEL CAMERON, in his official                 )                   ORDER
    capacity as Attorney General of                 )
    Kentucky,                                       )
                                                    )
           Defendant.                               )
                                        ***   ***       ***   ***
         Pursuant to the Federal Rules of Civil Procedure, it is hereby ORDERED as follows:

                1.      No later than thirty (30) days from the date of entry and service of this

         order, counsel for the parties shall conduct the meeting of parties required by Rule 26(f)

         to discuss the possibilities for a prompt settlement or resolution of the case and to

         develop a proposed discovery plan. The parties are directed to note the various

         amendments to the Federal Rules of Civil Procedure effective December 1, 2015, and to

         develop a discovery plan consistent with the new changes.

                2.      At the time of the meeting, counsel for the parties shall exchange the

         disclosures required by Rule 26(a)(1) and, in the future, shall make supplemental

         disclosures when required by Rule 26(e).

                3.      No later than ten (10) days after the meeting, counsel for the parties shall

         file a written joint report outlining the proposed discovery plan. This report shall

         conform to Federal Rules of Civil Procedure Appendix Form 52, and shall include the

         following information:
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          (a) the parties’ views and proposals required by Rule 26(f);

          (b) the length of time counsel reasonably believe will be necessary to join other

             parties and to amend the pleadings;

          (c) the length of time counsel reasonably believe will be necessary to file dispositive

             motions;

          (d) the length of time counsel reasonably believe will be necessary to complete all

             pretrial discovery, including expert witness discovery;

          (e) the length of time counsel reasonably believe will be necessary for the parties to

             make the expert disclosures required by Rule 26(a)(2), with these disclosures to

             be made during the pretrial discovery phase of the case;

          (f) the probable length of trial and whether there will be issues to submit to a jury;

          (g) the dates that are mutually convenient with counsel to assign this case for trial and

             final pretrial conference. Absent good cause shown the Court will schedule the

             Final Pretrial Conference date no sooner than ninety (90) days after the date

             ordered for the filing of dispositive motions, with the Trial following two (2)

             weeks after the Final Pretrial Conference.

          (h) whether the parties desire a scheduling conference before entry of a scheduling

             order; and

          (i) whether the parties will consent to the jurisdiction of a magistrate judge for

             all further proceedings, including trial, pursuant to 28 U.S.C. § 636(c).

             Consent forms are attached to this Order and forms signed by all parties’

             counsel should be filed by no later than the date counsels’ joint status report

             is due. If all parties by counsel so consent, the Clerk of Court shall re-assign
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               this matter to the appropriate Magistrate Judge without the necessity of

               further order of the Court. LR 73.1(c).

    4. In the event this matter involves a corporation or partnership, the party is directed to advise

       the Court at the time of the submission of the parties’ joint report of all parent corporations,

       subsidiaries, affiliates, members and/or partners with which it is associated.



       This the 15th day of March, 2021.
